                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                                  Case No. 03-CR-46

MAMON JABER,
                      Defendant.


                                              ORDER

       Defendant Mamon Jaber moves for early termination of his supervised release pursuant

to 18 U.S.C. § 3583(e). Section 3583(e)(1) provides that the court may terminate a defendant’s

supervised release if (1) he has served at least one year; (2) considering the factors in 18

U.S.C. § 3553(a) and the defendant’s conduct, termination is in the interest of justice; and (3)

the government is given notice and an opportunity to be heard. United States v. Medina, 17

F. Supp. 2d 245, 245 (S.D.N.Y. 1998). Defendant has been on supervision for nearly two

years, and the government has indicated that it does not oppose the request. Finally,

considering defendant’s conduct and background and the recommendation of the probation

office, I conclude that termination is in the interest of justice.

       However, defendant’s restitution obligation remains and is a factor I must consider under

§ 3553(a)(6). On consideration of his financial resources and payment history on supervision,

defendant is directed to continue making payments at a rate of $100 per month. 18 U.S.C. §

3664(f). Defendant is also directed to notify the court and the Attorney General of any material

change in his economic circumstances that may affect his ability to pay. 18 U.S.C. § 3664(k).

Finally, I will stay the order terminating supervision for a period ten days to permit the



     Case 2:03-cr-00046-LA        Filed 02/12/08     Page 1 of 2     Document 456
government, if it wishes, to obtain a formal payment agreement from defendant.

        THEREFORE, IT IS ORDERED that defendant’s motion for early termination of

supervised release (R. 448) is GRANTED, and supervision is terminated as of February 26,

2008.

        Dated at Milwaukee, Wisconsin, this 12th day of February, 2008.


                                        /s Lynn Adelman
                                        ______________________________
                                        LYNN ADELMAN
                                        District Judge




    Case 2:03-cr-00046-LA      Filed 02/12/08   Page 2 of 2   Document 456
